         Case 1:09-cv-00019 Document 51 Filed 02/27/13 Page 1 of 1




 1                         IN THE UNITED STATES DISTRICT COURT
 2                         FOR THE NORTHERN MARIANA ISLANDS

 3
 4    RANDALL T. FENNELL,                          Case No. 1:09-CV-00019
 5                             Plaintiff,
 6
              v.                                   ORDER TO SHOW CAUSE
 7
      MATTHEW T. GREGORY, former
 8
      Attorney General, GREGORY BAKA,
 9    Acting Attorney General, ANTHONY
      WELCH, Assistant Attorney General,
10    TOM J. SCHWEIGER, Assistant Attorney
      General, and DOES 1–20, in their official
11
      and individual capacities,
12
                               Defendants.
13
14          On July 6, 2011, Plaintiff was granted an extension to July 29, 2011, to file a first
15   amended complaint. (See Order, ECF No. 50.) A first amended complaint was not filed.
16   The case has been pending for a year and a half without any activity on the docket. “[I]f
17   a proceeding has been pending for more than six (6) months without any action taken by
18   the parties during that period, upon notice to the parties the court may dismiss the
19   proceeding for lack of prosecution.” LR 41.1. “The district court has the inherent power sua
20   sponte to dismiss a case for lack of prosecution.” Henderson v. Duncan, 779 F.2d 1421, 1423
21   (9th Cir. 1986).
22          Plaintiff is hereby ordered to show cause why the court should not dismiss this
23   case for lack of prosecution. Plaintiff shall respond to this order in writing by close of
24   business on March 13, 2013, or the matter will be dismissed with prejudice.
25          SO ORDERED this 26th day of February, 2013.
26
27                                                       _____________________________
                                                         RAMONA V. MANGLONA
28                                                       Chief Judge




                                                   -1-
